                                                   Case 2:21-cv-01046-RFB-BNW Document 29 Filed 09/29/21 Page 1 of 2



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                                7             AMERICAN STAFFING OF NEVADA, INC. AND
                                              AMERICAN STAFFING, INC.
                                8

                                9                                               UNITED STATES DISTRICT COURT

                           10                                                        DISTRICT OF NEVADA

                           11

                           12                 BOBETTE COUSINEAU, an individual,                        Case No.: 2:21-cv-01046-RFB-BNW

                           13                                      Plaintiff,

                           14                          v.                                             STIPULATION AND [PROPOSED]
                                                                                                      ORDER TO DISMISS ACTION, WITH
                           15                 AMERICAN STAFFING OF NEVADA, INC., a                    PREJUDICE
                                              domestic corporation; AMERICAN STAFFING,
                           16                 INC., a foreign corporation; EXEL, INC. d/b/a
                                              DHL SUPPLY CHAIN, a foreign corporation;
                           17                 DOES I through X; and ROE Corporations XI
                                              through XX, inclusive,
                           18
                                                                   Defendants.
                           19

                           20

                           21                          Plaintiff BOBETTE COUSINEAU, Defendants AMERICAN STAFFING OF NEVADA,
                           22                 INC. 1 and AMERICAN STAFFING, INC., and Defendant EXEL, INC. d/b/a DHL SUPPLY CHAIN,
                           23                 by and through their respective attorneys of record, hereby stipulate and respectfully request an order
                           24                 dismissing the entire action with prejudice.
                           25                          The parties further agree that each party shall bear its own costs and attorneys’ fees. The
                           26                 parties to this stipulation agree that none of them shall be deemed to be a prevailing party in this action
                           27                 and that none will file for an award of attorneys’ fees or costs pursuant to any rule, statute, or law,
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                                                  This entity is a d/b/a of Defendant employer American Staffing, Inc.
L IT TL E R ME N DE LS O N P .C .

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                                                Case 2:21-cv-01046-RFB-BNW Document 29 Filed 09/29/21 Page 2 of 2



                                1             whether local, state, or federal in any forum that would be available.

                                2              Dated: September 28, 2021                           Dated: September 28, 2021

                                3              Respectfully submitted,                             Respectfully submitted,

                                4

                                5              /s/ Kaine Messer                                    /s/ Z. Kathryn Branson______________
                                               CHRISTIAN GABROY, ESQ.                               Z. KATHRYN BRANSON, ESQ.
                                6              KAINE MESSER, ESQ.                                   EMIL S. KIM, ESQ.
                                               GABROY LAW OFFICES                                   LITTLER MENDELSON, P.C.
                                7
                                              Attorneys for Plaintiff                              Attorneys for Defendants
                                8                                                                  AMERICAN STAFFING OF NEVADA,
                                              BOBETTE COUSINEAU
                                                                                                   INC. and AMERICAN STAFFING, INC.
                                9

                           10                 Dated: September 28, 2021

                           11                 Respectfully submitted,
                           12
                                              /s/ Todd M. Seaman
                           13                 ANTHONY C. WHITE, ESQ. (admitted pro hac vice)
                                              TODD M. SEAMAN, ESQ. (admitted pro hac vice)
                           14
                                              THOMPSON HINE LLP
                           15
                                              KELLY H. DOVE, ESQ.
                           16                 HOLLY E. CHEONG, ESQ.
                           17                 SNELL & WILMER, L.L.P.

                           18                 Attorneys for Defendant
                                              EXEL, INC. d/b/a DHL SUPPLY CHAIN
                           19

                           20
                                                                                            IT IS SO ORDERED.
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                           22
                                                                                            _______________________________________
                           23                                                               UNITED STATES DISTRICT COURT JUDGE
                                                                                            RICHARD F. BOULWARE, II
                           24
                                                                                            DATED this 29th day of September, 2021.
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L IT TL E R ME N DE LS O N P .C .

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